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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



     NAVY SEAL 1, et al.,

           Plaintiffs,

     v.                                           CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     __________________________________/


                                           ORDER

           Throughout this week, the United States district judge in this action conducted

     a bench trial in United States v. Planes, No. 8:18-cv-2726-SDM-TGW, which trial is

     scheduled to resume Tuesday, April 19, 2022. To preserve the status quo, to permit

     a reasonable time to resolve the issues addressed at the April 11, 2022 hearing, and

     for other good cause, the present interim injunctive relief (Doc. 150) for USMC

     Captain is EXTENDED through APRIL 22, 2022 (although an earlier order is

     expected).

           ORDERED in Tampa, Florida, on April 15, 2022.
